       Case 1:23-cv-01650-JPC         Document 21        Filed 12/11/23      Page 1 of 1


DAMIAN WILLIAMS
United States Attorney for the
Southern District of New York
Attorney for Defendant
By: JOSEPH A. PANTOJA
Assistant United States Attorney
86 Chambers Street, 3rd Floor
New York, New York 10007

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
 ----------------------------------- x
 RECLAIM THE RECORDS and ALEC
 FERRETTI.,                          :
                                                           23 Civ. 1650 (JPC)
                       Plaintiffs,                   :
                                                           NOTICE OF APPEARANCE
         -against-                                   :

 UNITED STATES DEPARTMENT OF STATE,                  :

                Defendant.           :
 ----------------------------------- x



       The undersigned hereby appears on behalf of the defendant in the above-entitled action.



Dated: New York, New York
       December 11, 2023

                                            DAMIAN WILLIAMS
                                            United States Attorney for the
                                            Southern District of New York

                                     By:         /s/ Joseph A. Pantoja
                                            JOSEPH A. PANTOJA
                                            Assistant United States Attorney
                                            86 Chambers Street, 3rd Floor
                                            New York, New York 10007
                                            Tel.: 212.637.2785
                                            Fax: 212.637.2750
                                            Email: joseph.pantoja@usdoj.gov
